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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
                                                          :
NIKE, INC. and CONVERSE INC.,                             :
                                                          :
                           Plaintiffs,                    :
                                                          : No. 2013 Civ. 8012 (CM)(DF)
         -against-                                        :
                                                          : ORAL ARGUMENT REQUESTED
MARIA WU d/b/a
                                                          :
WWW.SHOECAPSXYZ.COM, et al.,
                                                          :
                           Defendants.                    :
                                                          :
----------------------------------------------------------x




    MEMORANDUM OF LAW IN FURTHER SUPPORT OF CROSS-MOTION TO
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        The Banks’ April 27, 2018 Opposition and Reply Brief (ECF No. 110) confirms that

there was no basis for the Banks’ earlier representation to this Court that there was a “critical

factual distinction” between this case and Gucci II.1 ECF No. 71 at 13. As the Banks now

concede, they have precisely the same types of connections to New York that Judge Richard

Sullivan previously found to support an order compelling BOC to produce the banking records of

its customers who, through BOC’s use of its New York-based correspondent account, laundered

the U.S. dollar denominated proceeds of their counterfeit sales in the United States into their

accounts in China. Because the Banks fail to establish—or even advocate the existence of—any

material difference in the facts of this case, the Court should reject the Banks’ invitation to create

an intra-circuit split with Judge Sullivan.

        In their opening brief, the Banks accused Next of “fail[ing] to provide the Banks (or the

Court) with any records indicating that the Judgment Debtors routed their ill-gotten funds to

China, or elsewhere, via correspondent accounts held by the Banks in New York.” Id. In fact,

the Banks went so far as to represent to this Court that there was not “any basis in fact” for

Next’s alleged “speculation” that “evidence of correspondent account transfers relating to the

Banks in this action . . . exist[ed].” Id. Next’s March 16, 2018 submission, however, included

voluminous evidence proving that this representation was incorrect and that, in reality, the Banks

facilitated at least 600 wire transfers for Judgment Debtors through correspondent accounts in

New York. See ECF No. 87 at 12–14; see also Grossbaum Decl. Ex. 2.2

        When confronted with the evidence of the 600-plus transfers that they made through New

York on behalf of Judgment Debtors, the Banks did not deny that the transfers were made



 1
     Capitalized terms have the same meanings set forth in Next’s March 16, 2018 Memorandum
     of Law (ECF No. 87).
 2
     The declarations filed herewith are cited by reference to the Declarant’s surname and “Decl.”


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through New York. The Banks’ only explanation for having misled the Court as to the absence

of “any basis in fact” for the transfers is that they did not bother to check for records outside of

their New York branches. See ECF No. 110 at 5. Under Rule 11 of the Federal Rules of Civil

Procedure, the Banks and their counsel were obliged to ensure that the Banks’ “factual

contentions have evidentiary support” and “denials of factual contentions are warranted on the

evidence” only following “an inquiry reasonable under the circumstances.” The Banks should

not have represented that Next’s position was “without any basis in fact” absent a search through

their own records. It is the Banks’ head offices in China that are before the Court, not merely

their New York branches. And, leaving aside whether the Banks had any duty to affirmatively

disclose the existence of wire-transfer records in their possession, the Banks, at the very least,

had a duty to avoid representing that such records did not exist.

       Critically, the Banks do not factually dispute their involvement in at least 600 wire

transfers through New York. ABC, BOC, and BOCOM used New York-based settlement

accounts to process more than 7,000 credit card transactions on behalf of Judgment Debtors.

The Banks do not factually dispute any of Next’s other evidence showing the Banks’ many

substantial ties to New York. Unable to maintain their argument that this case is “factual[ly]

distinct[]” from Gucci II, the Banks now resort to arguing that Judge Sullivan actually got it

wrong and that this Court should ignore the evidence of the Banks’ wire transfers and the

overwhelming record of their other ties to New York. But BOC made this precise argument

directly to the Second Circuit when it sought a stay of the contempt order that Judge Sullivan

entered after BOC refused to produce documents in Gucci II. See Hogan Decl. Ex. 2 at 7–11.

The Second Circuit affirmatively denied the Bank’s motion to stay, and BOC later withdrew its

appeal. Chung Decl. Ex. 24. As in Gucci II, the Banks advertise their extensive New York




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operations and establish New York correspondent and settlement accounts precisely to attract

customers like Judgment Debtors. Because it was the Banks’ New York ties and presence that

made it possible for the Banks to assist Judgment Debtors, all of their New York contacts are

relevant and support the exercise of personal jurisdiction here. See Hogan Decl. Ex. 1.

       The Banks’ papers also confirm that they have no basis to dispute Judge Sullivan’s

conclusion in Gucci I that the Hague Convention (the “Hague”) fails to provide an “easily

obtainable alternative” avenue to secure information about bank customers who sell counterfeits

in the United States. And, as explained by the same Chinese law expert that Judge Sullivan

relied on in Gucci II, the Banks have not demonstrated that they will suffer hardship if forced to

comply with the Subpoenas, nor have they shown that China’s interests in preserving the secrecy

of bank records is even close to absolute. The United States’ interests in deterring counterfeiters

and affording judicial remedies clearly outweigh China’s interests. Moreover, the Banks’

unsupported representation to the Court about the absence of wire-transfer records and their

continued attempt to convince this Court to reverse Judge Scheindlin’s determination that

Judgment Debtors’ accounts should be frozen “regardless of whether [they] are located in the

United States or abroad,” ECF No. 49 ¶ 10, demonstrate that they are not acting in good faith in

resisting this Court’s orders and Next’s discovery requests.

       For all the reasons set forth herein and in Next’s opening brief, the Court should grant

Next’s motion to compel.

                                      ARGUMENT

A.     The Banks Are Subject To Specific Personal Jurisdiction In New York

       1.      The Gucci Court Correctly Applied Licci’s Holding That A Foreign Bank’s
               “Repeated Use” Of Its New York-Based Correspondent Account
               Demonstrates Minimum Contacts And Purposeful Availment

       Judge Sullivan, in Gucci II, was right to apply the Second Circuit’s and New York Court


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of Appeals’ holdings in the Licci cases that “repeated use” of a correspondent account in New

York demonstrates transaction of business in New York and gives rise to specific personal

jurisdiction. As the New York Court of Appeals recently confirmed in Rushaid v. Pictet & Cie,

28 N.Y.3d 316 (2016), “use” within the meaning of Licci does not depend on whether the foreign

bank initiated rather than received wire transfers through its New York-based correspondent

account. There is thus no question that Judge Sullivan’s application of Licci in Gucci II was

correct where, as here, the foreign bank received wire transfers of illicit counterfeiting proceeds

through its New York-based correspondent accounts.3

        In an attempt to circumvent Licci by casting themselves as “passive” players who

“merely maintain”—rather than “use”—correspondent accounts in New York, see ECF No. 110

at 6–8; see also Almanas Decl. ¶¶ 37–45, the Banks have presented the Court with a primer on

the mechanics of the wire transfers that they receive through their correspondent accounts. The

Banks’ description actually serves to illustrate their repeated and deliberate use of their New

York correspondent accounts to facilitate their customers’, including Judgment Debtors’, transfer

of U.S. dollars from New York to China. As the Banks represent, the “party initiating a wire

transfer instructs its bank (the ‘Originating Bank’) to pay a beneficiary [here, a Judgment

Debtor], using payment instructions that identify the [Judgment Debtor’s] bank account and the

amount to be paid.” ECF No. 110 at 6. The Originating Banks “will credit the funds into the

U.S. correspondent account[s]” belonging to the Banks. Id. at 6–7. While “the funds stay in the

[Banks’] U.S. correspondent account[s],” the Banks then “enter . . . corresponding credit

entr[ies] in [their] books and records relating to” Judgment Debtors’ accounts. Id. Importantly,




 3
     There is evidence that all of the Banks, with the exception of ABC, facilitated wire transfers
     through their New York-based correspondent accounts. See Hogan Decl. Ex. 1.


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the Banks confirm that it was their head offices in China who consciously and deliberately set up

these correspondent accounts in New York and who credit Chinese-based accounts based on the

receipt of funds held in New York. See id. This establishes that the Banks themselves—not just

their New York branches—are transacting business in New York.4

        As Judge Sullivan concluded in Gucci II, the role that the Banks play in these wire

transfers demonstrates the sort of “use” that the New York Court of Appeals found satisfies New

York’s long-arm statute and that the Second Circuit found “shows purposeful availment of New

York’s dependable and transparent banking system.” Licci III, 20 N.Y.3d 327, 340 (2012); Licci

IV, 732 F.3d 161, 171 (2d Cir. 2013). Indeed, Judge Sullivan rejected the very same passive-

recipient argument that the Banks now make:

        BOC’s efforts to distinguish Licci are unpersuasive. BOC asserts that ‘there is a
        vast difference between a bank’s purposeful use of a correspondent account in the
        United States to make illegal payments for a client, as in Licci, and BOC’s passive
        receipt of transfers that [D]efendants and Chase Bank initiated and routed to
        BOC.’ . . . . But BOC mischaracterizes Licci. The Second Circuit and New York
        Court of Appeals emphasized that frequent and deliberate use of a domestic
        correspondent account to execute international wire transfers was enough to
        constitute transacting business in New York; neither court said anything about the
        Licci foreign bank knowingly making illegal payments, much less that such
        knowing complicity was required to establish jurisdiction pursuant to § 302(a)(1).

See Gucci II, 135 F. Supp. 3d 87, 94–95 (S.D.N.Y. 2015) (emphasis in original); see also Hogan

Decl. Ex. 4 at 13–15. Judge Sullivan’s rejection of BOC’s passive-recipient argument shows

that, despite the Banks’ arguments to the contrary, he both understood the mechanics of the

transactions at issue and appreciated the contours of Licci.5


 4
     In Licci, the Second Circuit expressly rejected the argument that foreign banks are not
     subject to personal jurisdiction where only the receipt of funds occurs in the U.S. and the
     banks’ crediting of customer accounts takes effect elsewhere. See Licci IV, 732 F.3d at 171–
     73; see also Gucci II, 135 F. Supp. 3d 87, 96 (S.D.N.Y. 2015).
 5
     In Gucci II, BOC had a full and fair opportunity to litigate this issue, Judge Sullivan decided
     the issue against BOC, and BOC failed to pursue appeal. BOC should be estopped from
     relitigating that argument here. See, e.g., Beck v. Levering, 947 F.2d 639, 642 (2d Cir. 1991).


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        The New York Court of Appeals’ recent decision in Rushaid confirms that Judge

Sullivan’s application of Licci was right. In Rushaid, the Court of Appeals expressly held that a

foreign bank who receives transfers through its New York-based correspondent account may be

subject to personal jurisdiction in New York based on that use. See 28 N.Y.3d at 328 (“[o]ur

cases do not require that the foreign bank itself direct the deposits, only that the bank

affirmatively act on them”). The Court of Appeals held that Licci applies where “[a] foreign

bank with a correspondent account . . . repeatedly approves deposits and the movement of funds

through that account for the benefit of its customer.” Id. And, like the Gucci II court, the Court

of Appeals concluded that the “correspondent banking activity” in which a foreign bank engages

when receiving transfers on behalf of its customers constitutes “use” within the meaning of Licci,

is “sufficient to establish a purposeful course of dealing, constituting the transaction of business

in New York under CPLR 302(a)(1),” and demonstrates minimum contacts and purposeful

availment for federal due process purposes.6 Rushaid, 28 N.Y.3d at 329, 331. Consistent with

Rushaid and Gucci II, another court in this District recently exercised specific personal

jurisdiction over foreign banks based on the receipt of transfers into New York-based

correspondent accounts because the banks’ “deliberate choice to utilize the New York

correspondent bank accounts and, more generally, New York’s and the United States banking

systems, are United States contacts attributable to them.” See Official Comm. of Unsecured

Creditors of Arcapita v. Bahrain Islamic Bank, 549 B.R. 56, 70 (S.D.N.Y. 2016).

        The Banks’ claim that “other courts in this circuit” have recently “decline[d] to follow”

Judge Sullivan’s analysis in Gucci II, ECF No. 110 at 13, is baseless. The cases on which they



 6
     Consistent with Gucci II, the Rushaid court further concluded that the banks’ use of their
     correspondent accounts was sufficiently related to the cause of action since the banks’ use of
     their accounts played a critical role in the alleged schemes. See id. at 329–30.


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rely did not involve banks with a repeated course of conduct or physical presence in New York

like here, and none of the cases even mentions Gucci II.7 And the pre-Gucci II (and pre-Licci)

case on which the Banks rely, Amigo Foods Corp. v. Marine Midland Bank-N.Y., 39 N.Y.2d 391

(1976), was expressly distinguished by the New York Court of Appeals in Rushaid. 28 N.Y.3d

at 326–27 (distinguishing “[r]epeated, deliberate use” that is “approved by the foreign bank on

behalf of and for the benefit of a customer” from “unintended and unapproved use”).8

        Like the bank in Rushaid (and BOC in Gucci II), the Banks here deliberately and

purposefully “credited the funds in [their] correspondent bank account[s] to” Judgment Debtors’

accounts in China, which is an “essential step” in Judgment Debtors’ counterfeiting scheme.

Rushaid, 28 N.Y.3d at 327.9 There is no dispute that the Banks collectively received at least 600

wire transfers into their New York-based correspondent accounts on behalf of Judgment Debtors

and then credited Judgment Debtors’ accounts in China to reflect those transfers. The Banks

cannot seriously deny that they inserted themselves into the center of Judgment Debtors’

counterfeiting scheme. Indeed, Judgment Debtors could not have carried out their business of

selling counterfeits to U.S. consumers without the Banks’ having made it easy for them to move

their profits outside the U.S. and into their accounts in China where they can compensate their




 7
     See SPV OSUS, Ltd. v. UBS AG, 882 F.3d 333, 344–45 (2d Cir. 2018); Hau Yin To v. HSBC
     Holdings, PLC, 700 F. App’x 66, 67 (2d Cir. 2010); In re Terrorist Attacks on Sept. 11,
     2001, 2018 WL 1631450, at *7 (S.D.N.Y. Mar. 28, 2018).
 8
     The other “mere maintenance” cases on which the Banks rely are similarly inapposite
     because they involved no allegations of actual use of forum state correspondent accounts.
     See Tamam v. Fransabank SAL, 677 F. Supp. 2d 720, 727 (S.D.N.Y. 2010); Monkton Ins.
     Servs. v. Ritter, 768 F.3d 429, 431, 433–34 (5th Cir. 2014).
 9
     Although the bank in Rushaid—which, like the bank in Licci, was a defendant rather than a
     non-party—was alleged to have “knowingly launder[ed] and conceal[ed]” bribes via the
     transfers at issue, as in Licci, the bank’s actual knowledge of illegality was not the basis for
     the court’s conclusion that it was subject to specific personal jurisdiction. 28 N.Y.3d at 320,
     326–29; see also Licci III, 20 N.Y.3d at 338–39.


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partners and suppliers with impunity. Because the Banks’ repeated and deliberate use of their

correspondent accounts made this counterfeiting activity possible, and because the information

sought in the Subpoenas is highly relevant to the underlying action, this Court, like the Gucci II

and Rushaid courts, should find that the Banks had the necessary minimum contacts and

purposefully availed themselves of the privilege of transacting business in New York.

        2.      The Acquiring Banks’ Use Of New York-Based Settlement Accounts Also
                Demonstrates Minimum Contacts and Purposeful Availment

        ABC, BOC, and BOCOM (the “Acquiring Banks”) have processed more than 7,000

credit card transactions, totaling more than $3 million, on behalf of Judgment Debtors. See

Grossbaum Decl. Exs. 9–10, 16.10 The Acquiring Banks are especially well positioned to

provide key information regarding Judgment Debtors’ counterfeiting scheme and illicit proceeds,

see Tiffany (NJ) LLC v. Forbse, 2012 WL 3686289, at *5–6 (S.D.N.Y. Aug. 23, 2012), and have

established and use New York-based settlement accounts. See Nagin Decl. Ex. 1; Grossbaum

Decl. Exs. 11, 17–21; Hogan Decl. Ex. 1. BOCOM concedes as much. See ECF No. 110 at 17

n.16. The volume of credit card transactions that the Acquiring Banks have facilitated through

their settlement accounts in New York demonstrates their minimum contacts with, and




10
     In its opening submission, Next indicated that, although it already had obtained initial
     responses to a subpoena directed to Mastercard, a subpoena directed to Visa remained
     pending. ECF No. 110 at 18 n.18. On May 10 and May 21, 2018, Visa provided Next with
     initial responses containing information relating to ABC, BOC, BOC Credit Card, and
     BOCOM. See Grossbaum Decl. Exs. 12–17. And, on May 8, 2018, Next received a revised
     production of transaction data from Mastercard that identifies the merchants associated with
     each transaction but is otherwise substantively the same as the data produced in Exhibit 2 to
     the Nagin Declaration (ECF No. 86). See Grossbaum Decl. Exs. 9–10. Although the Banks
     “reserved the right to request permission to address any additional documents produced . . .
     that [Next] submits in conjunction with its reply,” ECF No. 110 at 18 n.18, Next respectfully
     submits that this Court should deny any such request given that ABC, BOC, and BOCOM—
     in their capacity as acquiring banks—must be aware of these accounts and transactions and
     cannot dispute their existence.


                                                 8
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purposeful availment of the privilege of transacting business in, New York.11

        The Acquiring Banks argue that the Court cannot exercise specific personal jurisdiction

over them by virtue only of their status as acquiring banks. But Next has presented evidence that

the Acquiring Banks transact business in New York based on their use of settlement accounts in

New York, among other contacts that are deliberately targeted at New York and directly related

to the counterfeiters’ operations. The out-of-state cases on which the Banks rely do not involve

situations where the acquiring bank set up and repeatedly used a bank account in the jurisdiction

to funnel the proceeds of illegal sales out of the country to the counterfeiters. See Project Honey

Pot v. John Does, 2012 WL 1854184, at *7 (E.D. Va. May 21, 2012) (foreign bank not subject to

personal jurisdiction merely because it served as acquiring bank for merchants who sold

counterfeit products via credit card); Fin. Inst. Track Litig. v. Heartland Bank, 2011 WL

1232352, at *13 (S.D. Tex. Mar. 31, 2011) (bank not subject to personal jurisdiction merely

because it participated in Visa and Mastercard networks as acquiring bank).12

        3.      The Banks’ Other New York Connections Further Satisfy The Minimum
                Contacts And Purposeful Availment Requirements

        In addition to the correspondent- and settlement-account evidence that Next has amassed,


11
     The Acquiring Banks also have subjected themselves to agreements governed by New York
     and California law and choice-of-forum provisions, see Nagin Decl. Ex. 1, Grossbaum Decl.
     Exs. 12–15, which also is relevant to the jurisdictional analysis. See Gucci 2d Cir., 768 F.3d
     at 142 n.21 (circuit courts “have endorsed the position that, when a civil case arises under
     federal law and a federal statute authorizes nationwide service of process, the relevant
     contacts . . . are contacts with the United States as a whole”).
12
     The same is true with respect to BOC’s arguments regarding its admitted role as an
     intermediary bank. See ECF No. 110 at 14. Next has proffered evidence of many wire
     transfers through BOC’s New York-based correspondent account, among many other New
     York ties, which distinguishes BOC from the parties in the cases on which it relies. See
     Bluewaters Comm’cns Holding v. Ecclestone, 2014 WL 220779, at *11, at *23 (Sup. Ct.
     N.Y. Cnty. 2014) (non-bank defendants not subject to personal jurisdiction merely because
     they made deposits through clearing accounts in New York); Gliklad v. Bank Hapoalim
     B.M., 2014 WL 3899209 (Sup. Ct. N.Y. Cnty. 2014) (foreign bank not subject to jurisdiction
     merely because it was an intermediary bank for transfers unrelated to the cause of action).


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the record also contains evidence of the Banks’ many other New York contacts, including the

marketing of their New York-based clearing services, the operation of their New York branches,

the ownership of real property in New York, registration with the New York Department of

Financial Services, and participation in CHIPS and FEDWIRE. See Hogan Decl. Ex. 1. The

Banks do not and cannot factually dispute any of this evidence. And all of these contacts with

New York relate to the central role that the Banks play in Judgment Debtors’ counterfeiting

operations. The Banks have attracted customers like Judgment Debtors, who, without the Banks’

New York presence, could not profit from the sale of counterfeit products in the U.S. The Banks

have promoted their New York presence with statements including:

   BOC: “Bank of China USA specializes in . . . US dollar clearing,” Weigel Decl. Ex. 233;
   ICBC: “Over the past few years, ICBC has taken all necessary steps to set up a US dollar
    Clearing Center in New York in an effort to improve the standard of clearing services,
    bringing robust increases in USD clearing volume,” id. Ex. 116;
   ABC: “New York Branch has its US dollar clearing business launch successfully. . . . ABC
    thus becomes a tier-one global clearing bank for US dollars,” id. Ex. 17;
   BOCOM: “The New York Branch offers Cross-border RMB Clearing Services, including
    U.S. Dollar Clearing Services,” id. Ex. 46;
   CCB: “The NY branch specializes in . . . USD Clearing” and provides “[e]fficient, accurate
    and reliable USD Clearing Services,” with “CCB teams (Beijing and New York) process[ing]
    a 21.5 hour non-stop USD Clearing service,” id. Exs. 92, 93; and
   CMB: “China Merchants Bank New York Branch . . . provide[s] integrated and professional
    cross-border financial services for Chinese and American customers” and “provides domestic
    and foreign customers with RMB, USD and other currencies’ deposits . . . , as well as
    collection, payment and settlement services,” id. Ex. 70.
Taken together, the Banks’ New York connections leave no doubt that the Banks’ conduct “is, if

anything, even more substantial, deliberate and recurring than that of the foreign bank in the

Licci cases” and that there “[c]learly . . . is more than ‘an articulable nexus’ between [the Banks’]

New York business activity and [Next’s] discovery requests.” Gucci II, 135 F. Supp. 3d at 94–

99 (considering BOC’s use of correspondent bank accounts, ownership of real property,




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operation of New York branches, and marketing materials, among other contacts). The Banks,

therefore, have “sufficient minimum contacts with New York for the Court to have personal

jurisdiction over [Next’s] motion to compel.” Id. at 99.

        Once again, unable to dispute the facts or distinguish this case from Gucci II, the Banks

resort to arguing that Judge Sullivan was wrong to conclude that marketing materials and other

evidence of New York ties and connections were relevant to the analysis. But, “[i]n determining

the strength of the contacts under both section 302(a)(1) and the Due Process Clause,” courts

must “look to the totality of . . . contacts with the forum state.” Chloe v. Queen Bee of Beverly

Hills, LLC, 616 F.3d 158, 164 (2d Cir. 2010). And the Court of Appeals in Rushaid expressly

found that evidence that the foreign bank had “marketed ‘business relations in New York’ on its

website” was relevant.13 Rushaid, 28 N.Y.3d at 327. Here, the uncontroverted evidence of the

Banks’ New York connections demonstrates the Banks’ minimum contacts with, and purposeful

availment of the privilege of transacting business in, New York.14

        4.      The Banks Have Failed To Show That The Exercise Of Specific Personal
                Jurisdiction Would Be Unreasonable

        The Banks have failed to satisfy their burden of demonstrating that the Court’s exercise

of specific personal jurisdiction would be unreasonable. See Licci IV, 732 F.3d at 173. For the


13
     In other post-Licci contexts similar to these, other New York courts also have considered
     contacts aside from correspondent account use. See Strauss v. Credit Lyonnais, S.A., 175 F.
     Supp. 3d 3, 19 (E.D.N.Y. 2016) (relevant that foreign bank operated New York branch,
     which acted as intermediary for wire transfers made on behalf of bank’s clients); Weiss v.
     Nat’l Westminster Bank PLC, 176 F. Supp. 3d 264, 279 (E.D.N.Y. 2016) (same).
14
     Next maintains that the evidence it has submitted is more than sufficient to support the
     exercise of specific personal jurisdiction over the Banks. If, however, the Court determines
     otherwise, Next respectfully reiterates its request that the Court order jurisdictional
     discovery. See ECF No. 87 at 18–19. In their opening brief, the Banks argued that the Court
     should reject any request for discovery because Next had “provide[d] not a scintilla of
     support for” its position. ECF No. 71 at 16–17. Now that the Banks have been confronted
     with Next’s “ream of exhibits,” ECF No. 110 at 2—including “hundreds of wire transfer
     records,” id. at 2, 19, they have abandoned that position.


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reasons set forth in Next’s opening brief, the factors to be considered all weigh in Next’s favor.

See ECF No. 87 at 18. The Banks do not rebut any of those arguments except with respect to

New York’s interests. Specifically, the Banks present the Court with a parade of horribles that

supposedly will befall New York’s status as an “international financial center” should the Court

exercise jurisdiction. See ECF No. 110 at 21. The Banks’ prediction is absurd.

        As an initial matter, Next is not asking this Court to find that mere maintenance of

correspondent accounts opens the door to personal jurisdiction. Here, the Banks purposefully

and deliberately used New York-based correspondent accounts to facilitate hundreds of transfers

of U.S. dollars beyond the reach of lawful process in the United States. Those transactions are

the very subject of the underlying cause of action (and discovery requests).15 That, of course,

would not be true in “every international tort case.” ECF No. 110 at 21. But here, the Banks

have inserted themselves into the center of Judgment Debtors’ counterfeiting operations and

have used their New York-based correspondent and settlement accounts to facilitate those

operations. Indeed, there is no reasonable dispute that the Banks have long been on notice that

their correspondent accounts are being used to facilitate counterfeiting operations and yet they

continue to protect their counterfeiting customers, including Judgment Debtors.

        Furthermore, BOC raised this same unpersuasive argument in Gucci II to no avail. See

Hogan Decl. Ex. 4 at 21. Unsurprisingly, in the nearly three years since Gucci II was decided,



15
     The Banks cite two pre-Licci cases to support its claim that New York courts have declined
     to exercise jurisdiction based on wire transfers to avoid “overburdening its courts.” ECF No.
     110 at 22. Neither of these cases involves facts similar to this case. See Daventree Ltd. v.
     Republic of Azer., 349 F. Supp. 2d 736, 762 (S.D.N.Y. 2004) (no personal jurisdiction over
     foreign bank where alleged transfers through correspondent account were not “‘at the very
     root of the action’” and amounted only to “‘mere maintenance’”); Casio Computer Co. v.
     Sayo, 2000 WL 1877516, at *26 (S.D.N.Y. Oct. 13, 2000) (no personal jurisdiction over non-
     bank defendants based merely on wire transfers that defendants made through New York).



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this District has not been “flooded with suits,” ECF No. 110 at 21, and the Banks do not even

attempt to argue otherwise. Nor do the Banks suggest that Gucci II caused “non-U.S. banks in

need of legitimate correspondent banking services . . . to direct their business to cities other than

New York.” Id. at 22. There is no support in the record for the Banks’ assertion that foreign

banks will leave the New York market if this Court agrees with Judge Sullivan’s decision in

Gucci II. And there is no reason for this Court to give credence to the Banks’ supposed concerns

when the New York Court of Appeals were not deterred by any such considerations in deciding

Licci and Rushaid. Indeed, contrary to the Banks’ argument, it is in New York’s interests, as

well as federal interests, to exercise jurisdiction under these circumstances. See Licci IV, 732

F.3d at 174 (“[W]eighed in the balance is the United States’ and New York’s interest in

monitoring banks and banking activity to ensure that its system is not used as an instrument in

support of . . . nefarious ends.”).16

B.      International Comity Weighs In Favor Of Enforcing The Subpoenas

        The Banks’ effort to convince the Court to reject Judge Sullivan’s (and Judge

Scheindlin’s) conclusions with respect to the efficacy of the Hague Convention and other comity

factors is fatally flawed. Importantly, the Second Circuit expressed its approval of Judge

Sullivan’s application of the comity factors—including his conclusion regarding the Hague—in

Gucci I, see Gucci 2d Cir., 768 F.3d at 122, 141 (2d Cir. 2014), and Judge Sullivan reaffirmed

that conclusion in Gucci II. See Gucci II, 135 F. Supp. 3d at 104; see also Wultz, 910 F. Supp.

2d at 557–58. Here, principles of international comity weigh even more heavily in favor of


16
     See also Gucci II, 135 F. Supp. 3d at 100 (New York has strong interest where “U.S. dollar-
     denominated transfers of allegedly ill-gotten gains were routed through New York,” “in
     litigants’ compliance with their discovery obligations,” and “in enforcing the . . . Lanham
     Act,” which is “designed to protect intellectual property rights and prevent customer
     confusion’”); Rushaid, 28 N.Y.3d at 331 (finding that “the fraudulent use of New York’s
     banking system” is “an issue of great importance to the State”); see also ECF No. 87 at 18.

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compelling the production of documents responsive to the Subpoenas. The Banks do not present

any convincing reason to depart from these conclusions.

        Neither The Hague Convention Nor Enforcement in China Provides a Viable

Alternative. The Banks claim that the Qi Andrew and Forbse cases support their position that

the Hague provides a viable alternative for obtaining discovery. But if the Court looks carefully

at the facts of those cases, as Judge Scheindlin and Judge Sullivan did in Wultz and Gucci I,

respectively, it will find that the record actually “validate[s] the concern . . . that the Hague

Convention requests in circumstances similar to those presented here are not a viable alternative

methods of securing the information Plaintiff seeks.” Wultz, 910 F. Supp. 2d 548, 557 (S.D.N.Y.

2012) (internal quotation omitted); see also Gucci I, 2011 WL 6156936, at *8 (S.D.N.Y. Aug.

23, 2011) (Hague “does not present an easily obtainable alternative”); see also Second Clarke

Decl. ¶¶ 6(d); 30–43.

    In Tiffany (NJ) LLC v. Forbse, Judge Naomi Reice Buchwald ordered the plaintiff to proceed
     through the Hague with respect to ICBC and CMB because “China ha[d] yet to have a
     meaningful opportunity to demonstrate whether it will comply with the Hague Convention
     request under these circumstances.” 2012 WL 1918866, at *10 (S.D.N.Y. May 23, 2012). It
     took China’s Ministry of Justice (“MOJ”) more than nine months to produce documents that
     were only partially responsive to the plaintiff’s initial requests, see ECF No. 110 at 28, see
     also Second Clarke Decl. ¶¶ 36–37, 42, despite the MOJ’s “stated intention to cooperate with
     [plaintiff’s] request,” Forbse, 2012 WL 1918866, at *10. This is in sharp contrast to BOC’s
     7,000-page production in Gucci, which happened a mere seven days after the Second Circuit
     denied BOC’s motion to stay contempt sanctions. See Chung Decl. Ex. 24; Grossbaum Decl.
     Ex. 8; see also Second Clarke Decl. ¶ 40.17
    In Qi Andrew, Judge Henry Pitman ordered the plaintiff to proceed through the Hague. The
     MOJ’s response consisted of a mere 30 pages provided nine months after the parties
     submitted their request. See Second Clarke Decl. ¶¶ 36, 40, 42, Ex. 1. And the MOJ
     “expressly noted that it was not producing all documents requested.” Tiffany (NJ) LLC v. Qi

17
     Notably, Judge Buchwald granted the plaintiff’s motion to compel with respect to BOC,
     finding BOC’s role as “acquiring bank for an infringing website . . . strengthen[ed] the
     importance of the information sought” and “tip[ped] the balance of the analysis in favor of
     [the plaintiff].” Forbse, 2012 WL 1918866, at *11. BOC produced the documents soon
     after. See Second Clarke Decl. ¶ 20, Ex. 7. Here too, documents from the acquiring banks—
     ABC, BOC, BOC Credit Card, and BOCOM—are especially important to the litigation.

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     Andrew, 2012 WL 5451259, at *2 (S.D.N.Y. Nov. 7, 2012); see also Second Clarke Decl. ¶¶
     36, 40, 42, Ex. 1.
“If the [MOJ] applies a similar standard in the instant case,” to that which it applied in Forbse

and Qi Andrew, “it is likely that documents relevant to [Next’s] claims . . . will be denied.”

Wultz, 910 F. Supp. 3d at 558; see also Second Clarke Decl. ¶¶ 6(d), 30–43.18

        The Banks’ expressed willingness to work with Next to produce documents through the

Hague does not change the calculus. The Banks made the same offer in Qi Andrew and Forbse,

and, there, although the negotiated requests that the Banks insisted upon were more limited than

plaintiff’s initial subpoenas, compare, e.g., Second Clarke Decl. Ex. 2 with Chung Supp. Decl.

Ex. 32, the MOJ’s responses still did not include all of the requested information. See Second

Clarke Decl. ¶¶ 36–37, 40, 42, Ex. 1.

        The letters submitted by the MOJ in this case also do not alter the analysis. See ECF No.

110 at 28. These letters raise the same points that the People’s Bank of China (“PBOC”) and

China Banking Regulatory Commission (“CBRC”) raised in the Gucci case—and Judge Sullivan

rejected those arguments. Compare Chung Supp. Decl. Exs. 34, 35 with Hogan Decl. Ex. 6.19

The U.S. Government also weighed in at the request of the Second Circuit during the initial

Gucci appeal and wrote that “the Regulators’ Letter,” which made many of the same points as


18
     Although Judge Pitman found in Qi Andrew that the Hague process “ha[d] not proven futile,”
     2012 WL 5451259, at *3, the Supreme Court has articulated the standard not as futility but
     rather whether the Hague “facilitate[d]” discovery by “produc[ing] needed evidence.”
     Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Court for the S. Dist. Iowa, 482 U.S.
     522, 541–42 (1987) (declining to adopt a rule requiring “first resort to the Convention
     procedures” because that “would be unduly time consuming and expensive, as well as less
     certain to produce needed evidence than direct use of the Federal Rules”); see also Gucci I,
     2011 WL 6156936, at *8 (“Bank’s position that the Hague . . . must be futile before a court
     can forego its procedures is . . . plainly in tension with the Supreme Court[]”).
19
     The MOJ submitted a nearly identical letter in Gucci after Judge Sullivan ordered BOC to
     produce documents responsive to Gucci’s subpoena. See Hogan Decl. Ex. 6. This letter had
     no effect on Judge Sullivan’s decision to hold BOC in contempt for failing to produce. See
     generally Gucci Am., Inc. v. Li, 2015 WL 7758872 (S.D.N.Y. Nov. 11, 2015).


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the MOJ’s letters here, “does not present information necessitating reversal of the order requiring

compliance with the document subpoena in Gucci.” Hogan Decl. Ex. 7 at 4, 27.

       The Banks are also incorrect that Next should be required to go to China to seek to

enforce its Judgment. See Guo Supp. Decl. ¶¶ 37–38; see also Second Clarke Decl. ¶¶ 6(e), 44–

48. Critically, the Banks can cite only one case—which is the only example in China’s history of

a Chinese court enforcing a U.S. judgment—and it is very likely that the case will remain an

outlier. See Second Clarke Decl. ¶¶ 45–47. The Office of the U.S. Trade Representative

acknowledges that “China remains a hazardous and uncertain environment for U.S. right holders

hoping to protect and enforce their IP rights,” Hogan Decl. Ex. 8 at 38, making it even less

certain that China would enforce a trademark judgment.

       The United States Has Stronger Interests. Judge Sullivan, the Second Circuit, and the

U.S. Government in the Gucci case all concluded that the United States’ interests in cases like

this one are substantial. See Gucci 2d Cir., 768 F.3d at 141; Gucci II, 135 F. Supp. 3d at 103;

Hogan Decl. Ex. 7 at 2–3, 9–10, 24–25. The Banks’ only new response is to argue that these

interests are somehow diminished because Next, or its parent company Tenor, is a so-called

“litigation funder.” That does not change the analysis. Litigation funders are important in cases

such as these because they “allow[] . . . lawsuits to be decided on their merits, not based on

which party has deeper pockets or stronger appetite for protracted litigation.” Lawsuit Funding

LLC v. Lessoff, 2013 WL 6409971, at *6 (N.Y. Sup. Ct. Dec. 4, 2013). As such, there is “no

public policy against the funding of litigation by outsiders.” AroChem Int’l, Inc. v. Buirkle, 968

F.2d 266, 272 (2d Cir. 1992). And, regardless of the reasons underlying the assignment, Next, as

assignee, “takes all of the rights of the assignor, no greater and no less.” In re New Haven

Projects Ltd. Liab. Co., 225 F.3d 283, 290 n.4 (2d Cir. 2000). The Banks’ attempt to put the




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details of Plaintiffs’ continuing interest in this litigation at issue is nothing more than an attempt

to distract the Court. Moreover, this factor of the comity analysis considers each country’s

interest, not each party’s interest. See Restatement (Third) of Foreign Relations Law §

442(1)(c). The United States’ interest in “enforcing . . . the Lanham Act,” Gucci II, 135 F. Supp.

3d at 100, which is designed in large part to protect consumers, see Hermes Int’l v. Lederer de

Paris Fifth Ave., Inc., 219 F.3d 104, 108 (2d Cir. 2000), is no less powerful because an assignee,

rather than the trademark holder, is the entity seeking to enforce the law.20

        The United States’ “significant public interest in enforcing the Lanham Act” is not

“outweighed by Chinese bank secrecy laws, the protections of which may be waived, especially

where such laws are susceptible to use and exploitation by international counterfeiters.” Gucci I,

2011 WL 6156936, at *11 n.8. BOC has now produced bank records in at least four known

cases and, if BOC has been sanctioned for doing so, it would say so. See Clarke Decl. ¶¶ 19–20.

The Banks cannot point to a single instance where a bank has been sanctioned for complying

with a court order. The best the Banks do is cite to a handful of administrative decisions and

cases, none of which are factually similar to the situation here or amount to severe sanctions.

See id. ¶¶ 6(c), 10–13, 19–29. The Banks claim that Next is “put[ting] the cart before the horse”

by requiring the Banks to “violate applicable laws” in order to “show that they have been

punished.” ECF No. 110 at 31. But BOC already supposedly “violated the applicable laws”

when it produced over 7,000 pages in response to the subpoena in the Gucci case, and when it

produced documents pursuant to court orders in three other cases. See, e.g., Grossbaum Decl.

Ex. 8; see Second Clarke Decl. ¶ 20. BOC does not claim it was sanctioned or suffered any




20
     See also Hogan Decl. Ex. 7 at 21, 25 (United States provides “robust remedies for private
     litigants” to help “keep[] counterfeit goods out of the domestic marketplace”).


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liability as a result of these productions. Id. Although the Banks refer to a civil suit brought

against BOC by the counterfeiters in the Gucci case, BOC suffered no real consequences in that

case. See Second Clark Decl. ¶¶ 10–11. It is nothing but unsupported speculation to suggest that

the Banks will be sanctioned if the Court allows the discovery sought here.

       Furthermore, despite the Banks’ assertions to the contrary, China’s banking regime does

not place the utmost premium on the confidentiality of customer information. Because China’s

bank secrecy regulations are trumped by other regulations that allow regular access to customer

information, the counterfeiters here have no reasonable expectation that their bank records will

remain confidential. See Second Clarke Decl. ¶¶ 6(a), 7–13. This is precisely why Judge

Sullivan concluded that actual practice undermines state policy favoring a high degree of

protection to the Banks’ customers. See Gucci I, 2011 WL 6156936, at *9–11.

       The Banks Are Not Acting In Good Faith. An order compelling disclosure is further

supported by the fact that the Banks have not been forthright with this Court about their use of

their New York-based correspondent accounts. Despite claiming that there was no “basis in

fact” for the proposition that “Judgment Debtors routed their ill-gotten funds to China . . . via

correspondent accounts held by the Banks in New York,” ECF No. 71 at 13, the Banks knew or,

at minimum were reckless in denying, that they used their New York correspondent accounts to

enable Judgment Debtors to wire the illegal proceeds of their counterfeiting schemes back to

their accounts in China. It is irrelevant that the Banks claim there were no records of these

accounts or wires in New York, see id. at 10, as the Banks’ head offices must have records of all

the wire transfers that go through their New York correspondent accounts. At best, the Banks

knew that their representation to the Court that there was not “any basis in fact” for Next’s

assertions regarding the wire transfers was made without sufficient factual inquiry. At worst, the




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Banks’ representation was an intentional misstatement to the Court. Either way, the Banks

demonstrated a lack of good faith.

        The Banks’ lack of good faith is further demonstrated by their continued attempt to

circumvent Judge Scheindlin’s previous asset restraint order, which they did not appeal. The

Banks’ efforts to draw a material distinction between the Judgment and the Final Order—based

on inconsequential stylistic differences in the language of the respective orders—strain credulity.

The asset restraint provisions in the Judgment and Final Order are substantively the same as they

both “order the Banks to comply with [the] asset freeze,” ECF No. 48 at 3, and it would be

illogical to treat them differently.

    Judgment: “[A]ll Defendants’ Assets . . . continue to be restrained regardless of whether the
     Defendants’ Assets are located in the United States or abroad . . . includ[ing]. . . the
     accounts set forth in Exhibit 3,” which lists Judgment Debtors’ accounts at the Banks.
     ECF No. 49 ¶ 10, Ex. 3.

    Final Order: “[T]hird party financial service providers . . . are restrained and enjoined from
     transferring, withdrawing or disposing of any [of Judgment Debtors’] money or other assets
     . . . regardless of whether such money or assets are held in the U.S. or abroad.” ECF No. 62
     ¶ 4.

        It is therefore the Banks who are “attempt[ing] to sidestep” Judge Scheindlin’s order

finding that the Banks’ arguments were “premature” even though “the Proposed Default

Judgment would order the Banks to comply with an asset freeze” because the Banks were not

being compelled to turn over the funds in those accounts. ECF No. 48 at 3 (emphasis added).

The Banks point to no changed circumstances that would justify this Court revisiting Judge

Scheindlin’s order.21 The Banks’ argument that this Court should modify the Final Order verges



21
     Additionally, as set forth in Next’s opening brief, ECF No. 87 at 8–11, Motorola remains
     inapposite. “Nothing in Motorola supports extending its holding to the issuance of [an order]
     where no enforcement proceeding against any objecting Bank has been initiated.” ECF No.
     48 at 4. Next is not seeking turnover of assets held at the Banks, and Next’s potential future
     enforcement proceeding is irrelevant to whether the Final Order should be modified.


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on frivolous and further supports the notion that the Banks are not acting in good faith when

resisting compliance with court orders or discovery requests in this case.22

                                      CONCLUSION

        For the foregoing reasons and for the reasons set forth in its opening brief, Next

respectfully asks that this Court enter an order: (a) denying the Banks’ motion to modify the

Final Order; (b) denying the Banks’ motion to quash the Subpoenas; (c) compelling the Banks to

produce all documents called for in the Subpoenas; and (d) awarding such other and further relief

as the Court deems just and proper.

Dated: May 25, 2018
New York, New York
                                              GIBSON, DUNN & CRUTCHER LLP



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22
     In addition, although ABC was notified nearly five years ago that it was the acquiring bank
     for a website through which one Judgment Debtor sold counterfeits and was directed to
     freeze that account, see Hogan Decl. Ex. 3, ABC continued to allow the merchant to transact
     business. See Grossbaum Decl. Ex. 16. ABC’s blatant disregard for the Court’s orders
     further reveals its lack of good faith.


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